        Case 1:19-cr-10459-RWZ Document 1514 Filed 12/01/20 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,

       v.                                            No. 1:19-CR-10459-46

MARLON RIVERA,

               Defendant.


                         DEFENDANT MARLON RIVERA’S
                   SUPPLEMENTAL SENTENCING MEMORANDUM

       The defendant Marlon Rivera submits this Supplemental Sentencing Memorandum to

respond to a new assertion made in the government’s Memorandum in Support of Sentencing

Recommendation and Response to Objections to Presentence Report filed on November 29,

2020 (“Govt. Mem.”).

       The government twice suggests that “the remaining members of the Fitchburg chapter”

carried out the violent termination of the former Fitchburg Inca in August 2018, thus implicating

Mr. Rivera in that violent act. (Govt. Mem. at 6-7.) But the government has expressly

represented elsewhere that it does not believe that members of the Fitchburg chapter carried out

that termination. In the Arrest Affidavit of Special Agent Coppo, after quoting extensive

dialogue between Rodriguez, alleged Inca for the North Shore of Boston, and Cotto, a New

Bedford Latin King, the government states:

       273. In this conversation, I. RODRIGUEZ suggests that he and COTTO will handle
       the termination with other members not from Fitchburg.” COTTO agreed, and I.
       RODRIGUEZ mentioned that ROLDAN [alleged Massachusetts Cacique, or
       enforcer] had told already laid the seed of the ambush by telling Victim 34 that “all
       the Incas from every city are gonna be gettin’ up or some shit like that.” They
       discuss when the assault will occur and I. RODRIGUEZ stated that ROLDAN will
       let him know a date and that ROLDAN will attend as well. COTTO responded
        Case 1:19-cr-10459-RWZ Document 1514 Filed 12/01/20 Page 2 of 3




       “Aight so say less so we in there all of us.” I. RODRIGUEZ responded “yeah, fuck
       it. Do whatever we gotta do,” affirming the plan.


(ECF No. 12-1, at 98) (emphasis added). Thus, three senior Latin Kings from outside the area

are believed to have carried out the termination. Whatever remark Will Velez made at the

October 2018 meeting, there is no basis to infer that Mr. Rivera was involved in planning or

carrying out that termination, since the government contends otherwise.

       The government also fails to address how it has carried its burden of proving that Mr.

Rivera led a chapter that Peguero-Colon, a Massachusetts leader, expressly stated was no longer

a Latin Kings affiliate after the August 2018 termination. The government makes several

conclusory references that assume, without further evidence, that Mr. Rivera became the Inca

(referring to Fitchburg members as Mr. Rivera’s “underlings,” and saying he “obtained his

position of leadership” based on violence) (Govt. Mem. at 6, 7); but fails to demonstrate that he

acted as a leader, as it acknowledges it must. (Id. at 3.)

       Mr. Rivera was not involved in violent acts on behalf of the Latin Kings, and his

requested imprisonment sentence of 30 months remains appropriate.

Dated: December 1, 2020                               Respectfully submitted,

                                                      MARLON RIVERA

                                                      By his attorney,

                                                      /s/ John J. Falvey, Jr.
                                                      John J. Falvey, Jr. (BBO# 542674)
                                                      Emily M. Notini (BBO# 703765)
                                                      GOODWIN PROCTER LLP
                                                      100 Northern Avenue
                                                      Boston, Massachusetts 02210
                                                      Tel.: 617-570-1000
                                                      Fax.: 617-523-1231
                                                      jfalvey@goodwinlaw.com
                                                      enotini@goodwinlaw.com

                                                  2
        Case 1:19-cr-10459-RWZ Document 1514 Filed 12/01/20 Page 3 of 3




                                 CERTIFICATE OF SERVICE

        I, John J. Falvey, Jr., certify that this document will be sent by electronic mail to counsel
for the government on this date.



                                               /s/     John J. Falvey Jr.
                                               John J. Falvey, Jr. (BBO# 542674)




                                                  3
